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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             Vs.                              )                8:05CR237
                                              )
THERESA LOYE,                                 )                 ORDER
                                              )
                    Defendant.                )




       Before the Court is defendant’s Motion for Pretrial Release [19] requesting
Pretrial Services investigate the proposed release plan. Accordingly,

      IT IS ORDERED that defendant’s Motion for Pretrial Release [19] is granted in
part. Pretrial Services shall investigate defendant’s proposed release plan and
provide a copy of such investigation to the Court and counsel on or before July 22,
2005.


      DATED this 11th day of July, 2005.

                                            BY THE COURT:


                                            S/ F.A. Gossett
                                            United States Magistrate Judge
